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Munley Law, PC
The Forum Plaza - 227 Penn Avenue
Scranton, PA 18503
570-346-7401


                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Gregory S. Windish and               :
Faith Windish, his wife              :
2090 Blue Mountain Parkway           :
Harrisburg, PA 17112                 :
             Plaintiffs              :
      v.                             :            CIVIL ACTION
                                     :            JURY TRIAL DEMANDED
Edwin W. Beard, Jr.                  :
2573 Dale Ridge Rd.                  :
Dowelltown, TN 37059; and            :
Western Express, Inc.                :
7135 Centennial Place                :
Nashville, TN 37209                  :
            Defendants               :      No.

                                 COMPLAINT

      NOW come Plaintiffs, Gregory S. Windish and Faith Windish, by and

through their undersigned counsel, Munley Law, P.C. and aver as follows:

                                THE PARTIES

      1.    Plaintiffs Gregory Windish and Faith Windish are husband and wife

and competent adults and citizens of Pennsylvania with an address at 2090 Blue

Mountain Parkway, Harrisburg, Pennsylvania 17122.
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      2.      Defendant Edwin W. Beard, Jr., upon information and belief, is a

competent, adult and a citizen of Tennessee with an address at 2573 Dale Ridge

Rd., Dowelltown, Tennessee 37059.

      3.      Defendant Western Express, Inc. upon information and belief, is a

corporation and/or other business entity organized and existing under the laws of

Tennessee with its principal place of business at 7135 Centennial Place, Nashville,

Tennessee 37209

      4.      Defendant Western Express, Inc. regularly, continuously, and

systematically conducts business in the Middle District of Pennsylvania.

      5.      At all times pertinent hereto, on information and belief, Defendant

Edwin W. Beard, Jr. was the agent, servant, workman, contractor and/or employee

of Defendant Western Express, Inc. and was acting within the course and scope of

his agency and/or employment.

                          JURISDICTION AND VENUE

      6.      The amount in controversy in this matter exceeds the sum or value of

$75,000.00.

      7.      This Court has jurisdiction over this matter pursuant to 28

U.S.C.§1332(a)(1) because the matter in controversy exceeds the sum or value of

$75,000.00 and is between citizens of different states.
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      8.     Venue is proper pursuant to 28 U.S.C. §1391(b), as a substantial part

of the events or omissions giving rise to the claim occurred in this district.

                           FACTUAL ALLEGATIONS

      9.     At all times pertinent hereto, Plaintiff Gregory Windish was the

operator of a 2007 Volvo VNM2, Connecticut License Plate No. 43350A, which

was owned by New Penn Motor Express.

      10.       At all times pertinent hereto, Defendant Edwin W. Beard, Jr. was the

operator of a 2016 Volvo VN, License Plate No. E5033HY, registered in

Tennessee, owned by Defendant Western Express, Inc., pulling a trailer with a

Wisconsin Tag No. 670405.

      11.       On or about September 25, 2015, at approximately 4:24 a.m.,

Plaintiff Gregory Windish was operating the aforementioned tractor trailer

traveling westbound on State Route 78, near a construction zone in Greenwich

Township, Berks County, Pennsylvania.

      12.       At the aforementioned time and place, Plaintiff Gregory Windish

was slowing and/or stopped for traffic on State Route 78, Greenwich Township,

Pennsylvania.

      13.       At the same time and place, Defendant Edwin W. Beard, Jr. was

operating the aforementioned Volvo tractor-trailer, westbound on State Route 78,

traveling behind Plaintiff’s vehicle in Greenwich Township, Pennsylvania.
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      14.    At the same time and place, Defendant Edwin W. Beard, Jr. operated

his tractor-trailer in such a careless, reckless and negligent manner that he came

into sudden and forcible contact with the rear of Plaintiff’s vehicle and causing

Plaintiff to suffer such injuries as are hereinafter more fully described.

      15.     As a result of the aforesaid accident, Plaintiff Gregory Windish has

suffered, yet suffers and will/may suffer for an indefinite time in the future injuries

including but not limited to: post concussion syndrome, headaches, tinnitus,

hearing loss, neck pain with radiation into his fingers, back pain, lower back pain,

including but not limited to disc bulges and/or herniations, sciatica and nerve

damage, left and right shoulder pain, left arm numbness, cervical radiculopathy,

cervicalgia, cervical sprain/strain, severe right neuroforaminal stenosis at C3-4,

moderate neuroforaminal stenosis at C5-6 and C6-7, diffuse disc bulging with mild

central canal stenosis at C3-4, diffuse disc bulging with mild central canal stenosis

at C4-5, diffuse disc bulging with mild central canal stenosis at C5-6, and shock to

his nerves and nervous system, all of which caused him, continue to cause him and

will cause him for an indefinite time in the future great pain, agony and suffering,

both physical and mental.

      16.     As a result of the aforesaid accident and injuries sustained, Plaintiff

Gregory Windish has been forced to undergo medical treatment and will/may be

forced to undergo medical treatment at an undetermined time in the future.
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      17.      As a result of the aforesaid accident and injuries sustained, Plaintiff

Gregory Windish has expended, yet expends and will/may expend for an indefinite

time in the future various and substantial sums of money for the medicine and

medical attention in and about endeavoring to treat and cure Plaintiff of his injuries

all to his great financial loss and damage.

      18.      As a result of the aforesaid accident and injuries sustained, Plaintiff

      Gregory Windish has been, yet is and will/may for an indefinite time in the

future, be unable to go about his usual and daily occupations and routines.

      19.      As a result of the aforesaid accident and injuries sustained, Plaintiff

Gregory Windish has been, yet is and will/may for an indefinite time in the future

be forced to forego the pleasures of life.

      20.      As a result of the accident and injuries sustained, Plaintiff Gregory

Windish has suffered, yet suffers and will/may continue to suffer wage diminution

or lessening of his earning power and earning capacity, and will/may continue to

suffer same forever in the future.

                                     COUNT ONE
                     Gregory Windish v. Edwin W. Beard, Jr.
                                      Negligence
      21.      Paragraphs 1-20 above are incorporated herein by reference as if

fully set forth here at length.
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       22.       The aforesaid accident was due solely to the negligent conduct,

careless conduct and gross, wanton and reckless conduct of Defendant Edwin W.

Beard, Jr. and in no way due to any negligent act or failure to act on the part of the

Plaintiff.

       23.       The negligent conduct, careless conduct and gross, wanton and

reckless of Defendant Edwin W. Beard, Jr. consisted of the following:

             a. failure to properly observe the roadway and keep a proper lookout;

             b. failure to properly brake his vehicle;

             c. failure to remain attentive;

             d. failure to maneuver his vehicle so as to avoid a collision;

             e. failure to maintain adequate control over his vehicle;

             f. failure to take proper evasive action so as to avoid an accident;

             g. failure to give warning of his approach;

             h. following too closely behind Plaintiff's vehicle in violation of 75 Pa.

                C.S.A. §3310(a);

             i. failure to exercise a degree of care which an ordinary and prudent

                person would have done under the circumstances;

             j. failure to slow or bring his vehicle to a stop to avoid the impact with

                the Plaintiff's vehicle;
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  k. operating his commercial motor vehicle without due regard for the

     rights, safety, and position of Plaintiff lawfully on the roadway;

  l. failure to slow down in light of the conditions then and there existing;

  m. failure to inspect, repair, and maintain his vehicle;

  n. operating his vehicle in careless disregard for the safety of others in

     violation of 75 Pa.C.S.A. §3714;

  o. operating his vehicle at an unsafe speed for conditions then and there

     existing, in violation of 75 Pa. C.S.A. § 3361;

  p. failure to bring his vehicle to a stop within the assured clear distance

     ahead in violation of 75 Pa.C.S.A. § 3361;

  q. driving recklessly and with willful and wanton disregard for the safety

     of persons or property in violation of 75 Pa. C.S.A. §3736;

  r. failure to obey the rules of the road, the statutes of the Commonwealth

     of Pennsylvania and the ordinances of Greenwich Township, in and

     about operating his vehicle on the highways and roadways of the

     Commonwealth of Pennsylvania;

  s. failure to operate, maintain, inspect and repair his vehicle in accord

     with the applicable Federal Motor Carrier Safety Regulations and

     Pennsylvania statutes and regulations;
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  t. operating his vehicle in violation of the rules and regulations of the

     Federal Motor Carrier Safety Regulations;

  u. operating his vehicle in violation of the rules and regulations of the

     Federal Motor Carrier Act;

  v. failure to conduct an inspection of his vehicle prior to driving in

     violation of 49 CFR §396.13;

  w. failure to inspect his vehicle and complete driver vehicle inspection

     reports in violation of 49 CFR §396.11;

  x. operating his vehicle in such a condition as to likely cause an accident

     or a breakdown of the vehicle in violation of 49 C.F.R. §396.7;

  y. operating his vehicle when he was so fatigued as to make it unsafe for

     him to operate the tractor trailer in violation of 49 CFR 392.3;

  z. operating his vehicle in excess of the applicable hours of service in

     violation of 49 CFR 395.3;

  aa. operating his vehicle when he knew or should have known that he was

     unfit to do so;

  bb.operating his vehicle while being distracted and/or fatigued;

  cc. failure to record his duty status in violation of 49 CFR 395.8;

  dd.failing to document his travel and daily logs as required by law,

     including the Federal Motor Carrier Safety Regulations;
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            ee. failing to observe proper rest and driving intervals as required by law,

               including the Federal Motor Carrier Safety Regulations;

            ff. operating the tractor-trailer when he was not fit to do so;

            gg.such other acts of negligence, gross negligence, recklessness and/or

               willful and wanton conduct as may be discovered using the Federal

               Rules of Civil Procedure.

      WHEREFORE, Plaintiff Gregory Windish demands judgment jointly and

severally against Defendant Edwin W. Beard, Jr. in an amount in excess of

$75,000.00 plus interest, costs and such other relief as this Court deems

appropriate.

                                     COUNT TWO

                      Gregory Windish vs. Edwin W. Beard, Jr.

                                   Punitive Damages

      24.       Paragraphs 1 - 23 above are incorporated herein by reference as if

fully set forth here at length.

      25.       The aforementioned conduct of Defendant Edwin W. Beard, Jr. was

outrageous and/or done willfully, wantonly and/or with reckless indifference to the

rights of the public including Plaintiff Gregory Windish. Defendant Edwin W.

Beard, Jr. knew or should have known that operating his vehicle when he was too

fatigued to do so safely and when he was in violation of the applicable hours of
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service regulations would result in serious injury to others. Furthermore, Defendant

Edwin W. Beard, Jr. knew or should have known that failing to pay attention to the

roadway and/or operating his vehicle too fast for the conditions then present,

and/or when he was in violation of the applicable hours of service regulations

and/or while he was in violation of the federal motor carrier safety regulations,

would result in serious injury to others driving on the roadway.

      26.    Despite such knowledge, Defendant Edwin W. Beard, Jr.,

nevertheless failed to properly observe the roadway and keep a proper lookout;

failed to properly brake his vehicle; failed to remain attentive; failed to maneuver

his vehicle so as to avoid a collision; failed to maintain adequate control over his

vehicle; failed to take proper evasive action so as to avoid an accident; failed to

give warning of his approach; followed too closely behind Plaintiff's vehicle in

violation of 75 Pa. C.S.A. §3310(a); failed to exercise a degree of care which an

ordinary and prudent person would have done under the circumstances; failed to

slow or bring his vehicle to a stop to avoid the impact with the Plaintiff's vehicle;

operated his commercial motor vehicle without due regard for the rights, safety,

and position of Plaintiff lawfully on the roadway; failed to slow down in light of

the conditions then and there existing; failed to inspect, repair, and maintain his

vehicle; operated his vehicle in careless disregard for the safety of others in

violation of 75 Pa.C.S.A. §3714; operated his vehicle at an unsafe speed for
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conditions then and there existing, in violation of 75 Pa. C.S.A. § 3361; failed to

bring his vehicle to a stop within the assured clear distance ahead in violation of 75

Pa.C.S.A. § 3361; drove recklessly and with willful and wanton disregard for the

safety of persons or property in violation of 75 Pa. C.S.A. §3736; failed to obey the

rules of the road, the statutes of the Commonwealth of Pennsylvania and the

ordinances of Greenwich Township, in and about operating his vehicle on the

highways and roadways of the Commonwealth of Pennsylvania; failed to operate,

maintain, inspect and repair his vehicle in accord with the applicable Federal

Motor Carrier Safety Regulations and Pennsylvania statutes and regulations;

operated his vehicle in violation of the rules and regulations of the Federal Motor

Carrier Safety Regulations; operated his vehicle in violation of the rules and

regulations of the Federal Motor Carrier Act; failed to conduct an inspection of his

vehicle prior to driving in violation of 49 CFR §396.13; failed to inspect his

vehicle and complete driver vehicle inspection reports in violation of 49 CFR

§396.11; operated his vehicle in such a condition as to likely cause an accident or a

breakdown of the vehicle in violation of 49 C.F.R. §396.7; operated his vehicle

when he was so fatigued as to make it unsafe for him to operate the tractor trailer

in violation of 49 CFR 392.3; operated his vehicle in excess of the applicable hours

of service in violation of 49 CFR 395.3; operated his vehicle when he knew or

should have known that he was unfit to do so; operated his vehicle while being
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distracted and/or fatigued; failed to record his duty status in violation of 49 CFR

395.8; failed to document his travel and daily logs as required by law, including

the Federal Motor Carrier Safety Regulations; failed to observe proper rest and

driving intervals as required by law, including the Federal Motor Carrier Safety

Regulations; operated the tractor-trailer when he was not fit to do so; and such

other acts of negligence, gross negligence, recklessness and/or willful and wanton

conduct as may be discovered using the Federal Rules of Civil Procedure.

      27.    All of these acts did constitute a reckless indifference to the risk of

injury to Plaintiff Gregory Windish. As a result, Plaintiff is seeking an award of

punitive damages against Defendant Edwin W. Beard, Jr.

      WHEREFORE, Plaintiff Gregory Windish demands judgment against

Defendant Edwin W. Beard, Jr. in an amount in excess of $75,000.00 plus interest,

costs and such other relief as this Court deems appropriate.

                                 COUNT THREE
                        Faith Windish v. Edwin W. Beard, Jr.
                                Loss of Consortium
   28. Paragraphs 1 - 27 above are incorporated herein by reference as if fully set

forth here at length.

   29. At all times here pertinent Faith Windish was and is the wife of Plaintiff

Gregory Windish.
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   30. Solely because of the negligent conduct, careless conduct and gross,

wanton and/or reckless conduct of Defendant Edwin W. Beard, Jr. in causing the

injuries to Faith Windish, as wife of Gregory Windish, has been, yet is and will

forever in the future be obliged to expend various sums of money for medicine and

medical attention in and about endeavoring to treat and cure her husband of his

injuries.

   31. By reason of the aforesaid accident Plaintiff Faith Windish has been, yet is

and probably will be in the future deprived of the assistance and society of her

husband, all of which has been and will be to her great financial loss and detriment.

       WHEREFORE, Plaintiff Faith Windish demands judgment against

Defendant Edwin W. Beard, Jr. in an amount in excess of $75,000.00 plus interest,

costs and such other relief as this Court deems appropriate.

                                  COUNT FOUR

                    Gregory Windish v. Western Express, Inc.

                                    Negligence

       32.   Paragraphs 1-31 above are incorporated herein by reference as if fully

set forth here at length.

       33.   The aforementioned accident was due to the negligent conduct,

careless conduct, and gross, wanton, and reckless conduct of Defendant Western

Express, Inc. and/or its agents, ostensible agents, servants, workmen, and/or
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employees and in no way due to the negligent act or failure to act on the part of

Plaintiff Gregory Windish.

      34.      The negligent conduct, careless conduct, and gross, wanton, and

reckless conduct of Defendant Western Express, Inc., in its own right, consisted of

the following:

            a. negligently entrusting Edwin W. Beard, Jr. with the tractor-trailer

               when it knew of should have known that Edwin W. Beard, Jr. lacked

               sufficient skill, judgment, and prudence in the operation of a tractor-

               trailer;

            b. failing to adequately instruct or train Edwin W. Beard, Jr. in the safe

               operation of the tractor-trailer prior to entrusting him with it;

            c. failing to prevent Edwin W. Beard, Jr. from operating the tractor-

               trailer until Edwin W. Beard, Jr. had sufficient ability to operate the

               tractor-trailer safely;

            d. failing to adequately ascertain that Edwin W. Beard, Jr. lacked the

               ability necessary to operate a tractor-trailer under the circumstances;

            e. permitting Defendant Edwin W. Beard, Jr. to operate the tractor-trailer

               with unsafe equipment in violation of 75 Pa. C.S.A. § 4107(b)(2);
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  f. failing to provide Edwin W. Beard, Jr. with the equipment necessary

     to safely operate a tractor-trailer on the highways and roadways

     among the traveling public;

  g. failure to maintain the brakes on the tractor-trailer;

  h. failure to adequately train and oversee their employees, including

     Defendant Edwin W. Beard, Jr., in the inspection and operation of its

     tractor-trailers;

  i. failure to properly qualify Defendant Edwin W. Beard, Jr. as required

     by 49 CFR §391 et seq.;

  j. permitting Defendant Edwin W. Beard, Jr. to operate the tractor-trailer

     when it knew or should have known that he was so fatigued as to

     make it unsafe for him to do so in violation of 49 C.F.R. 392.3;

  k. permitting Defendant Edwin W. Beard, Jr. to operate the tractor-trailer

     when it knew or should have known that he was unfit to do so;

  l. permitting Defendant Edwin W. Beard, Jr. to operate the tractor-trailer

     when it knew or should have known that he would drive while

     distracted and/or fatigued;

  m. permitting Defendant Edwin W. Beard, Jr. to operate its vehicle when

     it knew or should have known that the requirements for Defendant

     Edwin W. Beard, Jr. to earn income from operating its vehicle would
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     cause Defendant Edwin W. Beard, Jr. to violate the rules of the road

     and/or drive while distracted and/or fatigued;

  n. scheduling a run and/or requiring Defendant Edwin W. Beard, Jr. to

     operate its vehicle between points in such periods of time as would

     necessitate Defendant Edwin W. Beard, Jr. to operate the vehicle at

     too great a speed in violation of 49 C.F.R. §392.6;

  o. permitting Defendant Edwin W. Beard, Jr. to operate the tractor-trailer

     in violation of the Federal Motor Carrier Safety Regulations and the

     Federal Motor Carrier Act;

  p. permitting Defendant Edwin W. Beard, Jr. to operate the tractor-trailer

     in excess of the applicable hours of service rules in violation of 49

     C.F.R 395.3;

  q. failing to operate, maintain, inspect, and repair its tractor-trailer with

     the applicable Federal Motor Carrier Regulations, particularly 49

     C.F.R. 396.3;

  r. failure to require Defendant Edwin W. Beard, Jr. to observe and abide

     by the Federal Motor Carrier Safety Regulations in violation of 49

     C.F.R. §390.11;
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            s. aiding and abetting Edwin W. Beard, Jr. in and/or encouraging or

               requiring Edwin W. Beard, Jr. to violate the Federal Motor Carrier

               Safety Regulations in violation of 49 C.F.R. 390.13;

            t. operating its vehicle in violation of the rules and regulations of the

               Federal Motor Carrier Safety Regulations;

            u. providing incentives and/or imposing penalties on drivers like Edwin

               W. Beard, Jr. such that he would avoid inspecting, maintaining, and/or

               repairing the tractor-trailer;

            v. failing to properly supervise Edwin W. Beard, Jr. in the operation of

               the tractor-trailer to ensure compliance with the Federal Motor Carrier

               Safety Regulations and Federal Motor Carrier Act;

            w. failing to conduct a background check of the driving record of

               Defendant Edwin W. Beard, Jr. as required by 49 C.F.R. 391, et seq;

            x. such other acts or omissions as shall be discovered during the course

               of proper discovery under the Federal Rules of Civil Procedure.

      35.      Defendant Western Express, Inc. is also vicariously liable for the

aforementioned actions and inactions of its agents, servants, workmen, and/or

employees, including but not limited to Edwin W. Beard, Jr.
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      WHEREFORE, Plaintiff Gregory Windish demands judgment against

Defendant Western Express, Inc. in an amount in excess of $75,000.00 plus

interest and costs.

                                   COUNT FIVE

                      Gregory Windish v. Western Express, Inc.

                                 Punitive Damages

      36.    Paragraphs 1-35 above are incorporated herein by reference as if fully

set forth here at length.

      37.    The conduct of Western Express, Inc., was outrageous and/or done

willfully, wantonly and/or with reckless indifference to the rights of the public

including Plaintiff. Defendant Western Express, Inc. knew or should have known

that Defendant Edwin W. Beard, Jr. lacked the ability to safely operate a motor

vehicle and did not have sufficient skill, judgment, and prudence in operating a

motor vehicle. Defendant Western Express, Inc., knew or should have known that

the manner in which Defendant Western Express, Inc., conducted its business and

compensated their agents, servants, workmen, and/or employees, including but not

limited to Defendant Edwin W. Beard, Jr., would cause its employees, including

Defendant Edwin W. Beard, Jr., to violate the rules of the road and/or drive while

distracted and/or fatigued. Defendant Western Express, Inc., knew or should have

known that allowing their employees to violate the rules of the road and/or drive
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while distracted and/or fatigued would result in serious injury to the traveling

public, including Plaintiff Gregory Windish. Defendant Western Express, Inc.,

knew or should have known that permitting Defendant Edwin W. Beard, Jr. to

operate its tractor-trailer when he was not qualified to do so, when he could not do

so safely, when he would be operating the truck when he was too fatigued to do so

and while he was in violation of the applicable hours of service regulations would

result in serious injury to others driving on the roadway. Defendant Western

Express, Inc., knew or should have know that failing to hire and retain only

competent drivers would result in serious injury to others driving on the roadway.

Defendant Western Express, Inc., knew or should have known that failing to

properly train and supervise its agents, servants, workmen, and/or employees,

including but not limited to Defendant Edwin W. Beard, Jr. would result in serious

injury to others driving on the roadway. Moreover, Defendant Western Express,

Inc., knew or should have known that failing to inspect, maintain, repair and

operate its vehicle in compliance with all applicable standards and regulations,

including but not limited to the Federal Motor Carrier Safety regulations would

result in serious injury to others driving on the roadway.

      38.    Despite such knowledge, Defendant Western Express, Inc. negligently

entrusted Edwin W. Beard, Jr. with the tractor-trailer when it knew of should have

known that Edwin W. Beard, Jr. lacked sufficient skill, judgment, and prudence in
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the operation of a tractor-trailer; failed to adequately instruct or train Edwin W.

Beard, Jr. in the safe operation of the tractor-trailer prior to entrusting him with it;

failed to prevent Edwin W. Beard, Jr. from operating the tractor-trailer until Edwin

W. Beard, Jr. had sufficient ability to operate the tractor-trailer safely; failed to

adequately ascertain that Edwin W. Beard, Jr. lacked the ability necessary to

operate a tractor-trailer under the circumstances; permitted Defendant Edwin W.

Beard, Jr. to operate the tractor-trailer with unsafe equipment in violation of 75 Pa.

C.S.A. § 4107(b)(2); failed to provide Edwin W. Beard, Jr. with the equipment

necessary to safely operate a tractor-trailer on the highways and roadways among

the traveling public; failed to maintain the brakes on the tractor-trailer; failed to

adequately train and oversee their employees, including Defendant Edwin W.

Beard, Jr., in the inspection and operation of its tractor-trailers; failed to properly

qualify Defendant Edwin W. Beard, Jr. as required by 49 CFR §391 et seq.;

permitted Defendant Edwin W. Beard, Jr. to operate the tractor-trailer when it

knew or should have known that he was so fatigued as to make it unsafe for him to

do so in violation of 49 C.F.R. 392.3; permitted Defendant Edwin W. Beard, Jr. to

operate the tractor-trailer when it knew or should have known that he was unfit to

do so; permitted Defendant Edwin W. Beard, Jr. to operate the tractor-trailer when

it knew or should have known that he would drive while distracted and/or fatigued;

permitted Defendant Edwin W. Beard, Jr. to operate its vehicle when it knew or
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should have known that the requirements for Defendant Edwin W. Beard, Jr. to

earn income from operating its vehicle would cause Defendant Edwin W. Beard,

Jr. to violate the rules of the road and/or drive while distracted and/or fatigued;

scheduled a run and/or required Defendant Edwin W. Beard, Jr. to operate its

vehicle between points in such periods of time as would necessitate Defendant

Edwin W. Beard, Jr. to operate the vehicle at too great a speed in violation of 49

C.F.R. §392.6; permitted Defendant Edwin W. Beard, Jr. to operate the tractor-

trailer in violation of the Federal Motor Carrier Safety Regulations and the Federal

Motor Carrier Act; permitted Defendant Edwin W. Beard, Jr. to operate the tractor-

trailer in excess of the applicable hours of service rules in violation of 49 C.F.R

395.3; failed to operate, maintain, inspect, and repair its tractor-trailer with the

applicable Federal Motor Carrier Regulations, particularly 49 C.F.R. 396.3; failed

to require Defendant Edwin W. Beard, Jr. to observe and abide by the Federal

Motor Carrier Safety Regulations in violation of 49 C.F.R. §390.11; aided and

abetted Edwin W. Beard, Jr. in and/or encouraged or required Edwin W. Beard, Jr.

to violate the Federal Motor Carrier Safety Regulations in violation of 49 C.F.R.

390.13; operated its vehicle in violation of the rules and regulations of the Federal

Motor Carrier Safety Regulations; provided incentives and/or imposed penalties on

drivers like Edwin W. Beard, Jr. such that he would avoid inspecting, maintaining,

and/or repairing the tractor-trailer; failed to properly supervise Edwin W. Beard, Jr.
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in the operation of the tractor-trailer to ensure compliance with the Federal Motor

Carrier Safety Regulations and Federal Motor Carrier Act; failed to conduct a

background check of the driving record of Defendant Edwin W. Beard, Jr. as

required by 49 C.F.R. 391, et seq; and engaged in such other acts or omissions as

shall be discovered during the course of proper discovery under the Federal Rules

of Civil Procedure.

      39.    Defendant Western Express, Inc. is also vicariously liable for the

aforementioned outrageous and/or willful, wanton and/or reckless conduct of its

agents, servants, workmen, and/or employees, including but not limited to Edwin

W. Beard, Jr.

      40.    All of these acts did constitute a reckless indifference to the risk of

injury to Plaintiff Gregory Windish. As a result, Plaintiff is seeking an award of

punitive damages against Defendant Western Express, Inc.

      WHEREFORE, Plaintiff Gregory Windish demands judgment against

Defendant Western Express, Inc. in an amount in excess of $75,000.00 plus

interest and costs.
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                                     COUNT SIX

                      Faith Windish v. Western Express, Inc.

                                  Loss of Consortium

       41.    Paragraphs 1 - 40 above are incorporated herein by reference as if

fully set forth here at length.

       42.   At all times here pertinent Faith Windish was and is the wife of

Plaintiff Gregory Windish.

       43.   Solely because of the negligent conduct, careless conduct and gross,

wanton and/or reckless conduct of Defendant Western Express, Inc. in causing the

injuries to Faith Windish, as wife of Gregory Windish, has been, yet is and will

forever in the future be obliged to expend various sums of money for medicine and

medical attention in and about endeavoring to treat and cure her husband of his

injuries.

       44.   By reason of the aforesaid accident Plaintiff Faith Windish has been,

yet is and probably will be in the future deprived of the assistance and society of

her husband, all of which has been and will be to her great financial loss and

detriment.
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      WHEREFORE, Plaintiff Faith Windish demands judgment against

Defendant Western Express, Inc. in an amount in excess of $75,000.00 plus

interest and costs.


                          DEMAND FOR JURY TRIAL

      Plaintiffs hereby demand a jury trial as to all issues so triable as a matter of

right pursuant to Federal Rule of Civil Procedure 38(b)(1).

                                               MUNLEY LAW PC

                                        BY: /s/ Daniel W. Munley
                                             Daniel W. Munley
                                             I.D. No. 77441
                                             Attorney for Plaintiffs
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                                in excess of $75,000.
